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AO 245B-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                             AMENDED**denotes changes
                     v.                                                  JUDGMENT IN A CRIMINAL CASE
                CARLOS NIETO                                             (For Offenses Committed On or After November 1, 1987)
                                                                         Case Number: 1:01CR05421-001

                                                                         Daniel A. Bacon, 5200 N. Palm Ave., #408, Fresno, CA 93704
                                                                         Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to cou nt(s): On e of th e Indictm ent .
[]       pleaded nolo con tendere to coun ts(s)        which wa s ac cep ted by the co urt.
[]       was foun d guilty on coun t(s)     after a plea of n ot guilty.

ACCORDINGLY, the court has adjudicated that the defend ant is guilty of the following offense(s):
                                                                                            Date Offense              Count
Title & Section                     Nature of Offense                                       Concluded                 Num ber(s)
21 USC 846 and 841(a)(1)            Co nsp iracy to M anu facture a nd D istribute          11/05/01                  One
                                    Metham phetamine (CLAS S A FELO NY)




       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendan t has been fou nd not guilty on coun ts(s)          and is discharged as to such c ount(s).

[U]      Count(s) Tw o of th e Indictm ent (is)(are) dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[U]      Appeal rights given.                          []        Appeal rights waived.

        IT IS FURTHER ORD ERED that the defendant shall notify the United States Attorney for this district within 30
days of an y change of na m e, res idence, or m ailing ad dres s until all fines , restitution , cos ts, and sp ecial assess m ents
imposed by this judgment are fully paid.

De fendan t’s Soc. Se c. No.:       None                                                   Decem ber 12, 2005
                                                                                      Date of Imposition of Judgment
Defendant’s Date of Birth:          1963

De fendan t’s US M N o.:   60388-097                                                       /s/ ROBER T E. COYLE
                                                                                         Signature of Judicial Officer
Defendant’s Residence Address:
Mexico
                                                                        ROBERT E. COYLE, Senior United States District Judge
Defendant’s Mailing Address:                                                      Nam e & Title of Judicial Officer
Mexico
                                                                                                Decem ber 14, 2005
                                                                                                      Da te
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AO 245B-CAED (Rev. 9/01) Sheet 2 - Imprisonment
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DEFENDANT:                CARLOS NIETO



                                                        IMPRISONMENT
         **The defendan t is hereby comm itted to the custody of the United States B ureau of Prisons to be imprisone d for a
total term of 57 months .




[U]     The court makes the following recomm endations to the Bureau of Prisons:

        The Court recomm ends that the defendant be incarcerated in a California(Lo mp oc) facility, but only insofar as
        this ac cords w ith sec urity class ification and spa ce a vailability.

        The Court recomm ends the defendant participate in the 500-Hour Bureau of Prisons Substance Abuse
        Tre atm ent Pro gram.


[U]     The defendant is rem anded to the custo dy of the U nite d State s M arshal.


[]      Th e de fendan t shall surren der to the U nited S tates Ma rshal for this district.
        [ ] at     on     .
        [ ] as notified by the Un ited Sta tes Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the Un ited Sta tes Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no s uch institution has bee n de signated , to the U nited S tates Ma rshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                         By
                                                                                                  Deputy U.S. Marshal
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AO 245B-CAED (Rev. 9/01) Sheet 3 - Supervised Release
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DEFENDANT:                  CARLOS NIETO



                                                 SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 60 months .

(unsupervised, if deported)



The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13,1994:

[U]      The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
         within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation
         officer.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check if applicable.)

[U]      The defendant shall not possess a firearm as defined in 18 U.S.C. § 921. (Check if applicable).

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such
fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the additional conditions on the attached page (if indicated below).

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 9/01) Sheet 3 - Supervised Release
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DEFENDANT:                 CARLOS NIETO




                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
              States Probation Officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, without a search warrant. Failure to submit to a search may
              be grounds for revocation. The defendant shall warn any other residents that the premises may
              be subject to searches pursuant to this condition.

         2.   As directed by the probation officer, the defendant shall participate in a correctional treatment
              program (inpatient or outpatient) to obtain assistance for drug or alcohol abuse.

         3.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
              breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

         4.   Pursuant to 18 USC 3583(d)(3), upon completion of the term of imprisonment, the defendant
              is to be surrendered to a duly authorized immigration official for deportation in accordance with
              the established procedures provided by the Immigration and Naturalization Act. If ordered
              deported, during the term of supervised release, the defendant shall remain outside the United
              States and shall not re-enter the United States without the consent of the Attorney General of
              the United States.

              Upon any re-entry into the United States, the defendant shall report in person to the United
              States Probation Office in the Eastern District of California within 72 hours.

         5.   The defendant shall register, as required in the jurisdiction in which he resides, as a drug
              offender.
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AO 245S-CAED (Rev. 9/01) Sheet 5, Part B - Criminal Monetary Penalties
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DEFENDANT:                    CARLOS NIETO


                                         CRIMINAL MONETARY PENALTIES
  The defendant shall pay the following total criminal monetary penalties in accordance with the Sc hedule of Payments set forth
on Sheet 5, Part B.
                                             Assessment                       Fine                 Restitution
    Totals:                                    $ 100.00                        $                       $

[]    If applicable, restitution amount ordered pursuant to plea agreem ent .......... $


                                                                         FINE
The above fine includes costs of incarceration and/or supervision in the amount of $ .

     The defendant shall pay interest on any fine of more than $2500, unless the fine is paid in full before the fifteenth day after
the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on S heet 5, Part B may be subject to penalties
for default and delinquency pursuant to 18 U .S.C. §3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived.

      [ ] The interest requirement is modified as follows:


                                                              RESTITUTION
[]    The determination of restitution is deferred in a case brought under Chapters 109A, 100, 110A and 113A of Title 18 for
      offenses committed on or after 09/13/1994, until up to 60 days. An amended Judgment in a Criminal Case will be entered
      after such determination.

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived.

      [ ] The interest requirement is modified as follows:

[ ] The defendant shall make restitution to the following payees through the U.S. District Court, in the amounts listed below.

     If the defendant m akes a partial payment, each payee shall receive an approximately proportional payment unless specified
otherwise in the priority order of percentage payment column below.

                                                      **Total                         Amount of                     Priority Order
Name of Payee                                      Amount of Loss                 Restitution Ordered               or % of Pymnt

                                                       TOTALS:                            $                              $




 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994.
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AO 245S-CAED (Rev. 9/01) Sheet 5, Part B - Criminal Monetary Penalties
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                                                 SCHEDULE OF PAYMENTS
  Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5)
interest; (6) penalties.

      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     [U] immediately; or

B     []     $    immediately, balance due (in accordance with C, D, or E); or

C     []    not later than     ; or

D     []    in installments to commence      day(s) after the date of this judgme nt. In the event the entire amount of criminal
            monetary penalties imposed is not paid prior to the comm encement of superv ision, the U.S . probation officer shall
            pursue collection of the amount due, and shall request the court to establish a payment schedule if appropriate; or

E     []    in (e.g. equal, weekly, monthly, quarterly) installments of $    over a period of   year(s) to commence        day(s) after
            the date of this judgm ent.


 Special instructions regarding the payment of criminal monetary penalties:




      []    The defendant shall pay the cost of prosecution.



                                                                  FORFEITURE

      []    The defendant shall forfeit the defendant's interest in the following property to the United States:
